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                       IN THE UNITED STATE DISTRICT COURT     JUL                  |L\AfiW
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION           THOMAS G. BRUTON
                                                                       CLERK, U.S. DISTRICT COURT

 LINDA SCULLY, an       individual             I Case No.   iZ CV i325
 MARK SCULLY, ?h individual and
 HAROLD SCULLY an         individual;          | .luage Charles P. Kocoras

                        Plaintiffs,            I Jury Tria! Demanded

      v.
 NATHAN GOLDENSON, et al.

                                   NOTICE OF APPEAL

        Plaintiffs Linda Scully, Mark Scully and Harold Scully herewith file their notice of

appeal in the above Cause of Action to the entry of a Court Order of 6121t17 finally

dismissing all of their causes of Action against all of the Defendants.

        The names and addresses of the Plaintiffs are as shown below.

        The names and addresses of the Defendants are:

Deft. Nathan Goldenson, upon information and belief is a Cook County Resident who

owns property located at: 5018 N. Mozart Ave, Chicago, lL 60625, and does business

in Cook County for the Office of Public Guardian as an attorney, and all of the acts

complained about regarding him occurred in cook county, lllinois.

1.            Deft. James Burton, upon information and belief is a Cook County

              Resident who has a place of business at: 69 W. Washington St, 7th Floor,

              Chicago, lL 60602.

2.            Deft. Richard Gasik, upon information and belief, is an independent

              contractor for the OPG, and does business in Cook County and all of the

              complained of regarding him occurred in Cook County, lllinois.
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     3.            Deft. Hanny Pei, upon information and belief conducts business at Dutton

                   & Casey, PC, 79 W. Monroe St, #1320, Chicago, lL 60003, and all of the

                   acts complained about regarding her occurred in Cook County, lllinois.

     4.            Deft. Alexa Raines, upon information and belief is a licensed sociar

                   worker, who ; and does business at Presence St. Francis Hospital, 355

                   Ridge Ave, Evanston, lL 60202 in Evanston, lllinois and all of the acts

                   complained about regarding her occurred in Cook County, lllinois.

     5.            Deft. Robert Harris, upon information and belief is a Cook County

                   Resident, and does business in Cook County at the OPG, 69 W.

                   Washington St,       7th   Floor, Chicago, lL 60002 and all of the acts

                   complained about regarding him occurred in cook county, lllinois.

     6.            Defendant Richard McGreal is an individualwho resides in the County of

                   cook, lllinois aL4713        106th Pl,   oak Lawn 004s3, and does business in the

                   State of lllinois.

     7.            Defendant Presence st. Francis Hospital is an lllinois Not for profit

                   corporation ("NFPC") located in Evanston, Illinois with an address of 355

                   Ridge Ave, Evanston, lL 60202 and does business in Cook County, !L.

     8.            Defendant Carlton at the Lake, lnc., is an lllinois NFPC doing business in

                   cook county, lllinois and its address          is   72s   w   Montrose Ave, chicago,

                   rL 60613.

     9.            Defendant Presence saint Joseph Hospital is an lllinois NFpc doing

                   business in cook county, lllinois and its address             is: 2g00 N Lake shore
                   Dr, Chicago, lL 60657.
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10.        Defendant Burrows Moving Company, lnc. ls an lllinois corporation doing

           business at: 6542 N Clark St, Chicago, lL 60626.

11.        Defendant Loving Hands Hospice, lnc., is an tltinois Corporation doing

           business in Cook County, lL and its address is: 6535 N Otmsted Ave,

           Chicago, lL 60631

12.        Defendant Globetrotters, lnc. Is an lllinois Corporation doing business in

           Cook County, llliniois and its place of business is 300 S. Wacker Dr.,

           /14.00,   Chicago, lL 60600.

13.        Defendant John Doe #1 is an individualworking as an independent

           (HVAC) contractor for the OPG, and does business in Cook County and

           the acts complained about regarding him occurred in Cook County,

           lllinois.

14.        Defendants John and Jane Does #2to #9 are individuals working either

           directly for the OPG wrongfully evicting family members, or are the agents

           of the OPG or those in privity with them.

15.        Defendant Joseph Monahan is an lllinois attorney doing business within

           Cook County and his work address is: 55 West Monroe, # 3700, Chicago,

           tL 60603.

16.        Defendant Amy McCarty is an lllinois attorney doing business within Cook

           county, lllinois and her place of work is: 5s west Monroe, #3700,

           Chicago, lL 60603.

17.        Defendant Joseph W. Peiper is an lllinois attorney who does business at

          205 W. Randolph St, #1250, Chicago, lL 60606.
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               Defendant Ashley C. Coppola is an individualwho does business at 205

               W. Randolph St, #1250, Chicago, IL 60606.

               Defendant Julie M. Fontanarosa is an individualwho does business at

               205 W. Randolph St, #1250, Chicago, lL 60606.

               Defendant Tom Leko, is a real estate developer doing business in Cook

               County, lllinois and his place of business is: 6849 N. Keeler Ave,

               Lincolnwood lL 60712.

RESPECTFU LLY SU BM ITTED,




                                          Mark Scully, pro se
                                         ,/1,/ry
                                          Harold Scully, pro se



Prepared by.

Linda Scully
Mark Scully
P.O. Box 481 081
Niles, lL 607 14

Harold Scully
508 E Camp McDonald Rd
Prospect Hts, lllinois 60070
